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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)



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 In Re:                                               Case No.:    21-30589 (MBK)

 LTL MANAGEMENT LLC,                                  Judge:       Michael B. Kaplan

                       Debtor                         Chapter 11


                        APPLICATION FOR ORDER FOR ADMISSION
                         PRO HAC VICE OF ROBERT J. KEACH, ESQ.

 TO:      PARTIES ON THE COURT’S ELECTRONIC MAIL NOTICE LIST

          PLEASE TAKE NOTICE that pursuant to Rule 101.1 of the Local Civil Rules for the

 United States District Court for the District of New Jersey and Rule 9010-1 of the Local Rules of

 the United States Bankruptcy Court, District of New Jersey, Traurig Law LLC, proposed local

 counsel to the Fee Examiner, hereby makes the application before the United States Bankruptcy
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 Court for the District of New Jersey, for entry of an order granting the admission pro hac vice of

 Robert J. Keach, Esq. of the law firm of Bernstein, Shur, Sawyer & Nelson, P.A., the Fee Examiner

 in the above-captioned chapter 11 case.

        The undersigned relies upon the attached Certification of Robert J. Keach, Esq. in support

 of this application, and the undersigned certifies that he is admitted, practicing, and a member in

 good standing with the Bar of the State of New Jersey and admitted to practice before the United

 States District Court for the District of New Jersey.

        The undersigned hereby requests that if no objection to the within application is filed within

 seven (7) days, the application be granted and the proposed form of Order be entered.



 Dated: April 1, 2022                          Respectfully submitted,

                                               TRAURIG LAW LLC

                                               /s/ Jeffrey Traurig
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                                               Proposed Local Counsel to the Fee Examiner




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